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                 UNITED STATES DISTRICT COURT FOR

                THE CENTRAL DISTRICT OF CALIFORNIA

                            WESTERN DIVISION


In re:                              )     Dist. Ct. No. 2:18-cv-0365-DOC
                                    )
LIBERTY ASSET MANAGEMENT            )     Bk. No.     2:16-bk-13575-ER
CORPORATION, a California           )
corporation,                        )     Adv. No.    2:16-ap-01337-ER
                                    )
          Debtor and Debtor in      )     APPELLANT’S EXCERPTS OF
          Possession.               )     RECORD (APPENDIX)
______________________________      )
LUCY GAO AND BENJAMIN               )
KIRK                                )     VOLUME 1 OF 6
                                    )
                  APPELLANTS,       )
v.                                  )
                                    )
OFFICIAL UNSECURED CREDITORS        )
COMMITTEE FOR LIBERTY ASSET         )
MANAGEMENT CORPORATION,
                                    )
                                    )
               APPELLEE.
                                    )
______________________________

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                         CERTIFICATE OF SERVICE



      I, Alicia Coscio, hereby certify under penalty of perjury that on the 20th day

of April, I served the foregoing APPELLANT’S EXCERPTS OF RECORD

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/s/ Alicia Cosio

Alicia Cosio




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